     Case 3:15-cr-01571-JAH     Document 62     Filed 02/08/16    PageID.102    Page 1 of 1



 1

 2

 3

 4

 5

 6

 7

 8                             UNITED STATES DISTRICT COURT

 9                            SOUTHERN DISTRICT OF CALIFORNIA

10    UNITED STATES OF AMERICA,                      Case No. 15CR1571-JAH

11              Plaintiff,

12              v.                                   ORDER TO DISMISS INDICTMENT AS TO
                                                     ISRAEL CALDERA (4) WITHOUT
13
      ISRAEL CALDERA (4),                            PREJUDICE, AND TO EXONERATE BOND
14
                Defendant.
15

16         Based on the reasons cited in the United States’ Unopposed Motion

17 to Dismiss (including related documents filed with the Court), and for

18 good cause appearing, it is hereby ordered that the Indictment against

19 ISRAEL CALDERA is dismissed without prejudice.

20         It   is   further     ordered      that    ISRAEL     CALDERA’s     bond   shall   be

21 exonerated.

22         SO ORDERED.

23 Dated:       February 8, 2016
                                                     HONORABLE JOHN A. HOUSTON
24                                                   United States District Judge
25

26

27

28
